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   CLAIRE’S BOUTIQUES, INC.
 7
 8                          UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
10
11 SHERICE DUNCAN, individually, and on Case No.: 2:20-cv-5266
   behalf of other members of the general
12 public similarly situated,             NOTICE OF REMOVAL OF ACTION
                                          TO THE UNITED STATES DISTRICT
13              Plaintiff,                COURT FOR THE CENTRAL
                                          DISTRICT OF CALIFORNIA
14        vs.                             PURSUANT TO 28 U.S.C. §§ 1332, 1441,
                                          1446, and 1453 (CAFA)
15 CLAIRE’S BOUTIQUES, INC., a Colorado
   corporation; and DOES 1 through 10,    (Filed concurrently with Declarations of
16 inclusive,                             Adam Y. Siegel, Danielle Clark, and
                                          Michele Reilly; Civil Case Cover Sheet;
17                     Defendant.         Notice of Interested Parties; and Corporate
                                          Disclosure Statement)
18
19
20
21         TO THE HONORABLE CLERK OF THE UNITED STATES DISTRICT
22 COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA, PLAINTIFF
23 SHERICE DUNCAN, AND PLAINTIFF’S ATTORNEYS OF RECORD:
24         PLEASE TAKE NOTICE that Defendant CLAIRE’S BOUTIQUES, INC.
25 (“Defendant”) hereby invokes this Court’s jurisdiction under the provisions of 28 U.S.C.
26 §§ 1332(d), 1441, 1446 and 1453, and removes the above-entitled action to this Court from
27 the Superior Court of the State of California for the County of Los Angeles based on the
28 Class Action Fairness Act of 2005 (“CAFA”). In support thereof, Defendant assert the
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 1   following:
 2          1.     On April 21, 2020, Plaintiff SHERICE DUNCAN (“Plaintiff”) filed a Class
 3   Action Complaint against Defendant in the Superior Court of the State of California for the
 4   County of Los Angeles entitled Sherice Duncan, individually and on behalf of other members
 5   of the general public similarly situated, Plaintiff, vs. Claire’s Boutiques, Inc., a Colorado
 6   corporation; and DOES 1 through 10, inclusive, Defendant, Case No. 20STCV15355, which
 7   sets forth the following ten causes of action: (1) Violation of California Labor Code §§ 510
 8   and 1198 (Unpaid Overtime); (2) Violation of California Labor Code §§ 1182.12, 1194, 1197,
 9   1197.1, and 1198 (Unpaid Minimum Wage); (3) Violation of California Labor Code §§
10   226.7, 512(a), 516, and 1198 (Failure to Provide Meal Periods); (4) Violation of California
11   Labor Code §§ 226.7. 516, and 1198 (Failure to Authorize and Permit Rest Periods); (5)
12   Violation of California Labor Code §§226(a), 1174(d), and 1198 (Non-Compliant Wage
13   Statements and Failure to Maintain Payroll Records); (6) Violation of California Labor Code
14   §§ 201 and 202 (Wages Not Timely Paid Upon Termination); (7) Violation of California
15   Labor Code § 204 (Failure to Pay Timely Wages During Employment); (8) Violation of
16   California Labor Code §2802 (Unreimbursed Business Expenses); (9) Violation of California
17   Business & Professions Code §§ 17200, et. seq.; and (10) Violation of California Business &
18   Professions Code §§ 17200, et. seq. (Unfair Business Practices) (hereinafter the
19   “Complaint”).
20          2.     As stated in paragraphs 31-33 therein, the Complaint is brought as a class action
21   pursuant to California Code of Civil Procedure § 382 on behalf of Plaintiff and “[a]ll persons
22   who worked for Defendants as non-exempt, hourly paid employees in California, at any time
23   from September 22, 2018, until the date of trial.”
24          3.     As stated in paragraph 34 therein, the Complaint is also brought on behalf of a
25   subclass of individuals, defined as “[a]ll persons who worked for Defendants as non-exempt,
26   hourly paid employees in California who received at least one wage statement within (1) year
27   prior to the filing of the initial complaint until the date of trial.”
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 1           4.       Plaintiff filed her Complaint and Civil Case Cover Sheet on April 21, 2020.
 2   That same day the clerk issued its Notice of Case Assignment.
 3           5.       Defendant first received Plaintiff’s Summons and Complaint and Civil Case
 4   Cover Sheet when it was served on May 13, 2020. (Siegel Decl. at ¶4.) True and correct
 5   copies of the Summons, Complaint, Civil Case Cover Sheet, and Notice of Case
 6   Assignment are attached as Exhibit “A” to the Declaration of Adam Y. Siegel (“Siegel
 7   Decl.”).
 8           6.       On May 7, 2020, the Court issued a minute order rendering the case complex
 9   and staying the matter until the Initial Status Conference on August 27, 2020 at 11:00 a.m.,
10   at the Superior Court of California, County of Los Angeles, Central District, Spring Street
11   Courthouse, Department 10 . (Siegel Decl. at ¶5.) A true and correct copy of this minute
12   order, along with the certificate of mailing, are attached as Exhibit “B” to the Siegel
13   Declaration.
14           7.       On May 7, 2020, the Court issued an Initial Status Conference Order setting
15   forth the applicable complex litigation procedures. 1 (Siegel Decl. at ¶6.) A true and correct
16   copy of the Initial Status Conference Order (Complex Litigation Program) is attached as
17   Exhibit “C” to the Siegel Declaration.
18           8.       On May 28, 2020, Plaintiff filed the Proof of Service verifying Defendant had
19   been served. (Siegel Decl. at ¶7.) A true and correct copy of Plaintiff’s proof of service,
20   is attached as Exhibit “D” to the Siegel Declaration.
21           9.       As of the date of this Notice of Removal, Exhibits “A” though “D” to the
22   Siegel Declaration constitute all of the pleadings received or filed by Defendant in this
23   matter. (Id. at ¶8.)
24                                          TIMELINESS OF REMOVAL
25           10.      This Notice of Removal has been filed within thirty (30) days after Defendant
26   was first served with a copy of Plaintiff’s Summons and Complaint on May 13, 2020. (Id. at
27
28   1
      The Superior Court’s docket indicates this order was entered on May 11, 2020. However, the order itself is file stamped
     May 7, 2020.
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 1   ¶ 4.) Therefore, it has been filed within the time period mandated by 28 U.S.C. § 1446(b).
 2   Murphy Bros. v. Michetti Pipe Stringing, 526 U.S. 344, 354 (1999) (“[T]he defendant's period
 3   for removal will be no less than 30 days from service, and in some categories, it will be more
 4   than 30 days from service, depending on when the complaint is received.”).
 5                     NOTICE TO ALL PARTIES AND STATE COURT
 6         11.     In accordance with 28 U.S.C. § 1446(d), the undersigned counsel certifies that a
 7   copy of this Notice of Removal and all supporting papers will be served promptly on
 8   Plaintiff’s counsel and filed with the Clerk of the Los Angeles County Superior Court.
 9   Therefore, all procedural requirements under 28 U.S.C. § 1446 will be followed and satisfied.
10                                       VENUE IS PROPER
11         12.     This action was filed in the Superior Court in and for the County of Los
12   Angeles. Thus, venue of this action properly lies in the United States District Court for the
13   Central District of California – Central Division pursuant to 28 U.S.C. §§ 84(c)(2) and
14   1441(a). Venue of this action is also proper pursuant to 28 U.S.C. § 1391, providing that
15   an action may be venued in a judicial district where a substantial part of the events or
16   omissions giving rise to the claim occurred, and where, based on information and belief,
17   the plaintiff resides. (Siegel Decl. at ¶4, Exhibit “A” [“Complaint”] at ¶15; Declaration
18   of Danielle Clark (“Clark Decl.”) at ¶5.)
19                 REMOVAL BASED ON CLASS ACTION FAIRNESS ACT
20         13.     Removal of this action is proper under CAFA, 28 U.S.C. §§ 1332 et seq.
21   Section 4 of CAFA, 28 U.S.C. § 1332(d)(2), has been amended to read, in relevant part:
22                 The district courts shall have original jurisdiction of any civil
                   action in which the matter in controversy exceeds the sum or
23                 value of $5,000,000, exclusive of interest and costs, and is a class
                   action in which – (A) any member of a class of plaintiffs is a
24                 citizen of a State different from any defendant.
25         14.      In addition, CAFA provides for jurisdiction in the district courts only where
26   the proposed class involves 100 or more members, or where the primary Defendant are not
27   States, State officials, or other governmental entities. 28 U.S.C. § 1332 (d)(5).
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 1          15.     As set forth below, this is a civil action over which this Court has original
 2   jurisdiction under 28 U.S.C. § 1332(d), in that it is a civil action filed as a class action involving
 3   more than 100 members, and – based on the allegations in the Complaint – the matter in
 4   controversy exceeds the sum of $5,000,000, exclusive of interest and costs, and Plaintiff is a
 5   citizen of a state different from one of the Defendant. See 28 U.S.C. §§ 1332(d) and 1453.
 6   Furthermore, Defendant is not a State, State official, or other governmental entity.
 7   A.     The Putative Class Contains More Than 100 Members.
 8          16.     CAFA provides that the district courts shall not have jurisdiction over class
 9   actions where “the number of members of all proposed plaintiff classes in the aggregate is
10   less than 100.” 28 U.S.C. § 1332(d)(5).
11          17.     Here, Defendant’s records identify approximately 1,766 non-exempt
12   employees in the State of California that ended their employment with Claire’s Boutiques,
13   Inc. (for various reasons) between September 22, 2018 and the present. (Clark Decl. at ¶7.)
14   Accordingly, the numerosity requirement for jurisdiction under CAFA is easily satisfied
15   based on solely the number of employees that have ended their employment.
16   B.     The Named Defendant Is Not A Government Entity.
17          18.     Defendant CLAIRE’S BOUTIQUES, INC. (“Claire’s Boutiques, Inc.) is not
18   a State, a State official, or any other governmental entity. (Declaration of Michele Reilly
19   (“Reilly Decl.”) at ¶ 6.)
20   C.     Minimal Diversity Is Satisfied Under CAFA.
21          19.     The standard for establishing diversity of citizenship under CAFA is different
22   than diversity jurisdiction under 28 U.S.C. 1332(a)-(c). CAFA’s diversity requirement is
23   satisfied when there is minimal diversity, i.e., when at least one member of a class of
24   plaintiffs is a citizen of a state in which none of the Defendant are citizens. 28 U.S.C. §
25   1332(d)(2); see Snyder v. Harris, 394 U.S. 332, 340 (1969) (“if one member of a class is
26   of diverse citizenship from the class’ opponent, and no nondiverse members are named
27   parties, the suit may be brought in federal court even though all other members of the class
28   are citizens of the same State as the defendant.”); Bradford v. Bank of Am. Corp., No. CV
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 1   15-5201-GHK (JCx), 2015 U.S. Dist. LEXIS 120800, at *13 (C.D. Cal. Sep. 10, 2015)
 2   (“[defendant] needed only to establish that one plaintiff was a citizen of a different state
 3   from any one defendant at the time of removal.”).
 4         20.     Citizenship of the parties is determined by their citizenship status at the
 5   action’s commencement. See Mann v. City of Tucson, 782 F.2d 790 (9th Cir. 1986).
 6         21.     For individuals, citizenship is determined by a person’s domicile. Lew v. Moss,
 7   797 F.2d 747, 749 (9th Cir. 1986). “A person’s domicile is her permanent home, where she
 8   resides with the intention to remain or to which she intends to return.” Kanter v. Warner-
 9   Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). While residence and citizenship are not the
10   same, a person’s place of residence is prima facie evidence of his or her citizenship. State
11   Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 519-20 (10th Cir. 1994) (allegation by party
12   in state court complaint of residency “created a presumption of continuing residence in [state]
13   and put the burden of coming forward with contrary evidence on the party seeking to prove
14   otherwise”); see also Smith v. Simmons, 2008 U.S. Dist. LEXIS 21162, *22 (E.D. Cal. 2008).
15   Furthermore, a person’s intention to remain may be established by his or her place of
16   employment. Youn Kyung Park v. Holder, 572 F.3d 619, 625 (9th Cir. 2009); see also
17   Francisco v. Emeritus Corp. (C.D.Cal. June 12, 2017, No. CV 17-02871-BRO (SSx)) 2017
18   U.S.Dist.LEXIS 90131, at *10.) (“Plaintiff’s residence and employment in California are
19   sufficient evidence of his intent to remain in California.”).
20         22.     Defendant is informed and believes that Plaintiff was, at the time this action
21   was commenced, and still is, a resident and citizen of the State of California. (Clark Decl.
22   at ¶5; Complaint at ¶5.) Furthermore, Plaintiff alleges that she is “a resident of Elk Grove,
23   in Sacramento County, California.” (Complaint at ¶5.) Accordingly, Plaintiff is a citizen
24   of the State of California for purposes of removal under CAFA.
25         23.     For purposes of removal under CAFA, a corporation is a citizen of any state
26   where it is incorporated and of the state where it has its principal place of business. 28 U.S.C.
27   § 1332(c).
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 1         24.     With respect to ascertaining a corporation’s principal place of business, the
 2   United States Supreme Court has adopted the “nerve center test.” Hertz Corp. v. Friend, 559
 3   U.S. 77, 80-81 (2010). Under the nerve center test, a corporation’s principal place of business
 4   is where a corporation's high-level officers direct, control and coordinate the corporation’s
 5   activities. Id. A corporation can only have one “nerve center.” Id. at 93-94. In evaluating
 6   where a corporation’s “nerve center” is located, courts will look to the center of overall
 7   direction, control, and coordination of the company and will no longer weight corporate
 8   functions, assets, or revenues in each state.
 9         25.     Defendant was, at the time Plaintiff filed the Complaint, and presently is a
10   corporation organized under the laws of the State of Colorado. (Reilly Decl. at ¶4.) At all
11   relevant times, Defendant’s company headquarters, and thus its principal place of business,
12   has been in the State of Illinois. (Id.) Defendant controls its operations from its headquarters
13   in the State of Illinois. (Id.) The State of Illinois is where the majority of Defendant’s
14   executive, administrative and management functions are conducted, and from where the
15   majority of Defendant’s high-level officers—those that direct, control, and coordinate the
16   company’s activities—conduct business. (Id.) Most members of Defendant’s executive
17   team maintain their offices in the State of Illinois, while none of Defendant’s executive
18   officers reside in the State of California. (Id. at ¶¶4-5.) Accordingly, for purposes of
19   removal under CAFA, Defendant Claire’s Boutiques, Inc. is a citizen of the States of
20   Colorado and Illinois but is not a citizen of the State of California.
21         26.     Given the above, minimal diversity exists under CAFA because at least one
22   member of the Putative Class (Plaintiff) was, at the time this action was commenced – and
23   is still believed to be – a citizen of the State of California, while Defendant (Claire’s
24   Boutiques, Inc.) was – and still is – a citizen of the States of Colorado and Illinois. 28
25   U.S.C. § 1332(d)(2).
26   ///
27   ///
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 1   D.      The Amount In Controversy Exceeds $5,000,000 Based On A Plausible Reading
 2           Of The Allegations Of The Complaint.2
 3           27.     Under CAFA, the claims of the individual members in a class action are
 4   aggregated to determine if the amount in controversy exceeds the sum or value of
 5   $5,000,000. See 28 U.S.C. § 1332(d)(6). Congress intended federal jurisdiction to be
 6   appropriate under CAFA “if the value of the matter in litigation exceeds $5,000,000 either
 7   from the viewpoint of the plaintiff or the viewpoint of the defendant, and regardless of the
 8   type of relief sought (e.g., damages, injunctive relief, or declaratory relief).” Sen. Jud.
 9   Comm. Rep., S. REP. 109-14, at 42. Moreover, any doubts regarding the maintenance of
10   interstate class actions in state or federal court should be resolved in favor of federal
11   jurisdiction. S. Rep. 109-14, at 42-43 (“[I]f a federal court is uncertain about whether ‘all
12   matters in controversy’ in a purported class action ‘do not in the aggregate exceed the sum
13   or value of $5,000,000, the court should err in favor of exercising jurisdiction over the case
14   . . . . Overall, new section 1332(d) is intended to expand substantially federal court
15   jurisdiction over class actions. Its provisions should be read broadly . . . .”).
16           28.     In determining whether the amount in controversy exceeds $5,000,000, the
17   Court must presume Plaintiff will prevail on each and every one of her claims. Kenneth
18   Rothschild Trust v. Morgan Stanley Dean Witter, 199 F.Supp. 993, 1001 (C.D. Cal. 2002)
19   (citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1096 (11th Cir. 1994) (the amount in
20   controversy analysis presumes that “plaintiff prevails on liability”); Angus v. Shiley Inc.,
21   989 F.2d 142, 146 (3d Cir. 1993) (“the amount in controversy is not measured by the low
22   end of an open-ended claim”)). Moreover, the argument and facts set forth in the
23   Complaint may appropriately be considered in determining whether the jurisdictional
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              Defendant denies each and every allegation set forth by Plaintiff in the Complaint and denies that
27   Plaintiff or Putative Class Members are entitled to any compensatory or statutory damages, injunctive
     relief, restitution, civil penalties, attorneys’ fees, or any other relief. Defendant also denies that this action
28   can proceed as a class action. Notwithstanding the above, removal of this action is proper given that
     removal is based on the allegations asserted in the Complaint.
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 1   amount in controversy requirement is satisfied. Cohn v. Petsmart, Inc., 281 F.3d 837, 843,
 2   n.1 (9th Cir. 2002) (citing Willingham v. Morgan, 395 U.S. 402, 407 n.3 (1969)).
 3         29.     Notably, “[t]here is no obligation by defendant to support removal with
 4   production of extensive business records to prove or disprove liability and/or damages with
 5   respect to plaintiff or the putative class members at this premature (pre-certification) stage
 6   of the litigation.” Muniz v. Pilot Travel Ctrs. LLC, 2007 U.S. Dist. LEXIS 31515, at *15
 7   (E.D. Cal. Apr. 30, 2007).       Rather, a defendant seeking removal must prove by a
 8   preponderance of the evidence that the aggregate amount in controversy exceeds the
 9   jurisdictional minimum. Rodriguez v. AT&T Mobility Servs. Ltd. Liab. Co., 728 F.3d 975,
10   977 (9th Cir. 2013) (“the proper burden of proof imposed upon a defendant to establish the
11   amount in controversy is the preponderance of the evidence standard”).
12         30.     In Dart Cherokee Basin Operating Company, LLC v. Owens, the United
13   States Supreme Court held that where, as here, the complaint is silent as to whether the
14   amount in controversy meets CAFA’s jurisdictional threshold of $5,000,000 “a defendant’s
15   notice of removal need include only a plausible allegation that the amount in controversy
16   exceeds the jurisdictional threshold.” 135 S. Ct. 547, 554 (2014) (emphasis added).
17   Further, “‘[n]o “antiremoval presumption attends cases invoking CAFA’ because
18   ‘Congress enacted [CAFA] to facilitate adjudication of certain class actions in federal
19   court.’” Adams v. Toys 'R' US – Delaware, Inc., 2015 U.S. Dist. LEXIS 11338, at *5-6
20   (N.D. Cal. Jan. 29, 2015) quoting Dart, 135 S. Ct. at 554.
21         31.     Moreover, if a plaintiff asserts statutory violations, the court must assume that
22   the violation rate is 100% unless the plaintiff specifically alleges otherwise. See Muniz v.
23   Pilot Travel Ctrs. LLC, 2007 U.S. Dist. LEXIS 31515, at *12-13 (E.D. Cal. Apr. 30, 2007)
24   (“As these allegations reveal, plaintiff includes no fact-specific allegations that would
25   result in a putative class or violation rate that is discernibly smaller than 100%, used by
26   defendant in its calculations. Plaintiff is the ‘master of [her] claim[s],’ and if she wanted
27   to avoid removal, she could have alleged facts specific to her claims which would narrow
28   the scope of the putative class or the damages sought.”) (citing Caterpillar, Inc. v. Williams,
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 1    482 U.S. 386, 392 (1987)); see also Arreola v. The Finish Line, No. 14- CV-03339-LHK,
 2    2014 WL 6982571, at *4 (N.D. Cal. Dec. 9, 2014) (“District courts in the Ninth Circuit
 3    have permitted a defendant removing an action under CAFA to make assumptions when
 4    calculating the amount in controversy—such as assuming a 100 percent violation rate, or
 5    assuming that each member of the class will have experienced some type of violation—
 6    when those assumptions are reasonable in light of the allegations in the complaint.”);
 7    Coleman v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1149 (C.D. Cal. 2010)
 8    (“[C]ourts have assumed a 100% violation rate in calculating the amount in controversy
 9    when the complaint does not allege a more precise calculation.”).
10          32.     As a preliminary matter, Plaintiff’s Complaint alleges that “Plaintiff’s share
11    of damages, penalties, and other relief sought does not exceed $75,000.” (Complaint at ¶1.)
12    Plaintiff’s Complaint goes on to allege that putative class members are “similarly situated
13    to Plaintiff” (Complaint at ¶31.) and that “Plaintiff’s claims…are typical of all class
14    members as demonstrated herein.” (Complaint at ¶38(b).) Based on these allegations, one
15    plausible interpretation of the Complaint is that each putative class member is seeking
16    $75,000 in damages. As previously stated, Defendant has identified approximately 1,766
17    non-exempt individuals who ended their employment with Defendant (for various reasons)
18    between September 22, 2018 and the present. (Clark Decl. at ¶7.) Based on the Complaint,
19    these 1,766 individuals would be included in Plaintiff’s putative class. (Complaint at ¶¶ 33-
20    34.) The amount of individuals Defendant identified multiplied by $75,000 (the amount of
21    Plaintiff’s purported damages) places the amount in controversy at $132,450,000 ($75,000 x
22    1,766 individuals). These calculations alone demonstrate that the amount in controversy
23    exceeds $5,000,000 as required by CAFA.
24          33.     Alternatively, Plaintiff’s Complaint was filed as an “unlimited” jurisdiction
25    civil case on behalf of the Putative Class. As such, Plaintiff is claiming that the monetary
26    damages and restitution she is seeking exceeds the $25,000 minimum jurisdiction limits of
27    the California Superior Court,3 which is confirmed by the fact that she designated her case as
28
      3
            See California Code of Civil Procedure §§ 86(a) and 88.
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 1    “Unlimited (Amount demanded exceeds $25,000)” on her Civil Case Cover Sheet. (Siegel
 2    Decl. at ¶ 2, Exhibit “A” [Civil Case Cover Sheet].) Plaintiff further contends that “Plaintiff
 3    and class members…received the same standardized documents and/or written policies” and
 4    that Defendant communicated and implemented “company-wide policies, including time
 5    keeping polices and meal and rest period policies, to employees throughout California.”
 6    (Complaint at ¶¶12-13.) Thus, another plausible reading of the allegations in the Complaint
 7    is that Plaintiff is seeking at least $25,000 [the unlimited jurisdictional amount] per putative
 8    class member. If the Court multiplies 1,766 (the approximate number of non-exempt
 9    individuals that ended their employment with Defendant (for various reasons) between
10    September 22, 2018 and the present) by $25,000, the alleged amount in controversy is
11    $44,150,000. This conservative reading of Plaintiff’s allegations also demonstrates that the
12    amount in controversy exceeds $5,000,000 as required by CAFA. See Abrego v. The Dow
13    Chem. Co., 443 F.3d 676, 689 (2006) (finding jurisdictional amount met where complaint
14    sought no specific amount in damages but pled the amount in controversy to exceed
15    $25,000 and there were 1,160 class members).
16          34.     Finally, and without admitting that Plaintiff could recover any damages
17    whatsoever, a plausible reading of just the sixth causes of action alleged in the Complaint
18    also places an aggregate amount in controversy exceeding $6,247,401.60, exclusive of
19    attorneys’ fees, interest, and costs, as follows:
20                  a.    Sixth Cause of Action – Wages Not Timely Paid: Plaintiff alleges that
21    “Defendants willfully failed to pay Plaintiff and class members who are no longer employed
22    by Defendants their wages earned and unpaid at the time of discharge, or within seventy-two
23    (72) hours of their leaving Defendants’ employ.” (Complaint at ¶93.) Paragraph 94 of the
24    Complaint alleges that “Defendants’ failure to pay Plaintiff and class members who are no
25    longer employed by Defendants their wages earned and unpaid at the time of discharge, or
26    within seventy-two hours of their leaving Defendants’ employ, violates Labor Code sections
27    201 and 202.” (Complaint at ¶94.) As a result, Plaintiff contends that “Plaintiff and class
28    members are therefore entitled to recover from the Defendants the statutory penalty wages
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 1    for each day they were not paid, at their regular rate of pay, up to a thirty (30) day maximum
 2    pursuant to California Labor Code section 203.” (Id.) From September 22, 2018 and the
 3    present, approximately 1,766 non-exempt employees in the State of California ended their
 4    employment with Defendant. (Clark Decl. at ¶7.) According to the Complaint, these
 5    individuals would be part of Plaintiff’s putative class and entitled to damages. (Complaint at
 6    ¶¶33-34.) The hourly wage for these non-exempt individuals no longer employed by
 7    Defendant ranged from $10.50/hour to $33.66/hour and averaged $14.74/hour. (Clark
 8    Decl. at ¶8.) For purposes of removal, the Court can assume that each putative class
 9    member is entitled to maximum penalties under California Labor Code section 203. See
10    e.g. Lucas v. Michael Kors (USA) Inc., No. CV 18-1608-MWF (MRWx), 2018 U.S. Dist.
11    LEXIS 78510, at *8 (C.D. Cal. May 9, 2018) (“Defendants may use reasonable assumptions
12    in calculating the amount in controversy for purposes of removal.”); See also Arreola,
13    supra,, at *4 (allowing Defendant to assume a 100% violation rate for removal purposes.)
14    The maximum Labor Code section 203 penalties for an individual making $14.74/hour
15    would be $3,537.60 ($14.30 x 8 hours x 30 days). Based on the allegations in the
16    complaint, all 1,766 individuals who have departed from their employment with Defendant
17    are entitled to maximum Labor Code section 203 penalties at the average hourly wage, thus
18    the alleged amount in controversy for Plaintiff’s sixth cause of action alone is
19    $6,247,401.60 ($3,537.60 x 1,766 individuals).        Once again, the alleged amount in
20    controversy exceeds CAFA’s statutory requirements.
21          35.     Plaintiff also seeks an unspecified amount of attorneys’ fees in her Complaint,
22    which the Court should consider and include in the amount in controversy. (Complaint at
23    ¶¶53, 59, 120, 126, Prayer.) See, e.g., Goldberg v. CPC Int’l, Inc. 678 F.2d 1365, 1367 (9th
24    Cir. 1982), cert. denied, 459 U.S. 945 (1982); Galt G/S v. JSS Scandinavia 142 F.3d 1150,
25    1155-56 (9th Cir. 1998). Attorneys’ fee awards in California wage-hour class actions can
26    easily total several hundred thousands of dollars or more. See, e.g., McGuigan v. City of San
27    Diego, 183 Cal. App. 4th 610, 638 (2010) (noting attorneys’ fees paid in settlement of $1.6
28    million); Pellegrino v. Robert Half Int’l, Inc., 182 Cal. App. 4th 278, 287, 296 (2010)
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 1    (affirming $558,926.85 in attorneys’ fees in exemption misclassification class case, but
 2    reversing as to multiplier); Vasquez v. California, 45 Cal. 4th 243, 249 (2008) (noting award
 3    of $435,000 in attorneys’ fees for class claims involving failure to pay wages, liquidated
 4    damages, penalties and waiting time penalties). Moreover, the Ninth Circuit recently
 5    concluded “that the amount in controversy is not limited to damages incurred prior to
 6    removal—for example, it is not limited to wages a plaintiff-employee would have earned
 7    before removal (as opposed to after removal). Rather, the amount in controversy is
 8    determined by the complaint operative at the time of removal and encompasses all relief a
 9    court may grant on that complaint if the plaintiff is victorious.” Chavez v. JPMorgan Chase
10    & Co., 888 F.3d 413, 414-15 (9th Cir. 2018); see also Lucas v. Michael Kors (USA) Inc., No.
11    CV 18-1608-MWF (MRWx), 2018 U.S. Dist. LEXIS 78510, at *32 (C.D. Cal. May 9, 2018)
12    (“unaccrued post-removal attorneys’ fees can be factored into the amount in controversy.”).
13          36.     “Courts in this circuit have held that, for purposes of calculating the amount in
14    controversy in a wage-and-hour class action, removing Defendant can reasonably assume
15    that plaintiffs are entitled to attorney fees valued at approximately twenty-five percent of the
16    projected damages.” Fong v. Regis Corp., No. C 13-04497 RS, 2014 U.S. Dist. LEXIS 275,
17    at *23 (N.D. Cal. Jan. 2, 2014); see also Herrera v. Carmax Auto Superstores Cal., LLC,
18    No. EDCV-14-776-MWF (VBKx), 2014 U.S. Dist. LEXIS 188729, at *12 (C.D. Cal. June
19    12, 2014) (“Substantial authority supports a ‘benchmark’ 25 percent attorneys' fees figure to
20    be added to any claim for which attorneys' fees are available.”); Hamilton v. Wal-Mart
21    Stores, Inc., No. ED CV 17-01415-AB (KKx), 2017 U.S. Dist. LEXIS 162856, at *16 (C.D.
22    Cal. Sep. 29, 2017) (“The Ninth Circuit has allowed an estimate fee award of 25% of a
23    plaintiff's damages in calculating the amount in controversy under CAFA.”); Gutierrez v.
24    Stericycle, Inc., No. LA CV15-08187 JAK (JEMx), 2017 U.S. Dist. LEXIS 20975, at *51
25    (C.D. Cal. Feb. 14, 2017) (“it is appropriate to include in the calculation of the amount in
26    controversy a potential fee award of 25% of the value of certain of the substantive claims.”).
27          37.     The Court should therefore also consider attorneys’ fees of at least $1,561,850,
28    a conservative estimate at 25% of the aggregate amount in controversy calculated in
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 1    Paragraph 34 above. See, e.g., Oda v. Gucci Am., Inc., 2015 U.S. Dist. LEXIS 1672, at *11-
 2    13 (C.D. Cal. 2015) (finding the defendant’s assumptions regarding attorneys’ fees to be
 3    “reasonable” on removal where the defendant stated “Plaintiffs would recover a 25 percent
 4    fee” totaling “$1,329,245,” based on “the amount in controversy before attorneys’ fees” of
 5    “$5,316,978”).
 6                 38.         Thus, for the reasons discussed above, and without conceding or admitting to
 7    the underlying merit of Plaintiff’s claims, it is plausible that the aggregate amount in
 8    controversy in connection with Plaintiff’s putative class claims surpasses the $5,000,000
 9    jurisdictional threshold required under CAFA.
10                 39.         Based on the foregoing, Defendant hereby respectfully removes the above-
11    captioned action from the Los Angeles County Superior Court to this Court based on
12    CAFA requirements (28 U.S.C. §§ 1332(d), 1441, 1446 and 1453), and respectfully
13    requests that this Court retain jurisdiction for all further proceedings.
14
15                                                            Respectfully submitted,
16    Dated: June 12, 2020                                    JACKSON LEWIS P.C.
17
                                                        By:   /s/ Adam Y. Siegel
18                                                            Adam Y. Siegel
                                                              Carmen M. Miranda
19
                                                              Attorneys for Defendant
20    4844-7935-9935, v. 3
                                                              CLAIRE’S BOUTIQUES, INC.
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